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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,                   )
                                            )
       v.                                   )       Criminal Nos. 03-151, 05-42
                                            )
MARK HOPSON,                                )
                                            )
                      Defendant.            )
                                            )


                                          OPINION

   I. Introduction

       Pending before the court is a motion filed by counsel on behalf of Mark Hopson

(“Hopson”) for immediate release from the sentence of imprisonment he is currently serving at

FCI-Elkton, with attached medical records and letters of support from his sister and daughter

(ECF No. 282 at Crim. No. 03-151, ECF No. 81 at Crim. No. 05-42).                 Hopson seeks

compassionate release for “extraordinary and compelling reasons” pursuant to the First Step Act

and 18 U.S.C. § 3582(c)(1)(A)(i), due to the COVID-19 virus. The government filed a response

opposing the motion (ECF No. 287, ECF No. 82 at Crim. No. 05-42) and Hopson filed a reply

brief (ECF No. 288, ECF No. 83 at Crim. No. 05-42). Hopson’s motion is now ripe for

disposition.



   II. Procedural History

       On May 19, 2003, a federal grand jury returned a 7-count indictment based upon

Hopson’s dealing in large quantities of crack cocaine between 1998 and 2002. In count 1,

Hopson was charged with conspiracy to distribute and conspiracy to possess with intent to

distribute 50 or more grams of crack cocaine from 1998 through 2002, in violation of 21 U.S.C.

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§ 846. In counts 2-6, defendant was charged (along with his mother, co-defendant Sarah

Hopson) with conducting transactions with the proceeds of the illegal drug trafficking. In count

7, defendant was charged with a violation of 18 U.S.C. § 922(g)(1) for being a felon in

possession of a firearm.

       On October 5, 2004, the government filed an information pursuant to 21 U.S.C. § 851

noting two prior drug felony offenses for which Hopson had been convicted. (ECF No. 106.) If

convicted, Hopson faced a statutory mandatory sentence of life imprisonment. (ECF No. 273-2

at 36-37).

       A jury trial was set for April 2005. On February 7, 2005, the government filed a

complaint against Hopson charging him with a violation of 18 U.S.C. § 1512(a)(2)(B)(i), for

tampering with a witness for the upcoming trial by the use of physical force. (Crim. No. 05-42,

ECF No. 1.) A grand jury indicted Hopson on this charge on March 1, 2005. (Crim. No. 05-42,

ECF No. 12.)

       On the eve of trial on April 8, 2005, the parties reached a plea agreement. Hopson

pleaded guilty to counts 1 and 2 of the indictment at Criminal No. 03-151. (ECF Nos. 138, 139.)

Hopson acknowledged that count 1 (conspiracy to distribute 50 grams or more of cocaine base)

carried a mandatory minimum penalty of twenty years of imprisonment. As part of the

agreement, the government agreed to dismiss counts 3-7 at Criminal No. 03-151 and filed an

amended information charging Hopson with only one prior drug felony conviction, as opposed to

two.1 (ECF No. 137.) During the plea hearing, defendant agreed with the government’s

summary of what he did and the court accepted his guilty plea. (ECF No. 273-1 at 40.)


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         The amended § 851 information was beneficial to defendant because it reduced the
statutory mandatory minimum sentence from life imprisonment to twenty years imprisonment.
(ECF No. 273-2 at 36-37.)

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       Under the plea agreement, defendant waived his rights to appeal his conviction and to

collaterally attack his sentence, subject to limited exceptions. (Id. at 20-21.) Hopson

subsequently attempted to withdraw his guilty plea on the ground that it was not knowing and

voluntary, but after multiple hearings the court denied his motion. (ECF No. 177). The court

issued its Tentative Findings on March 8, 2006, finding Hopson was a career offender by reason

of his two prior felony convictions. (ECF No. 176.). The guideline range, however, was driven

by the base offense level for the amount of crack cocaine plus enhancements for possession of a

firearm and obstruction of justice.

       On June 13, 2006, Hopson pleaded guilty to obstruction of justice at Criminal No. 05-42

and all charges were consolidated for sentencing, which occurred immediately following the

change of plea. Hopson challenged the quantity of crack cocaine attributed to him. After

considering testimony from the government, the court found that Hopson was responsible for

more than 1.5 kilograms of crack cocaine. (ECF No. 273-2 at 47-55). The court commented that

the record could have supported a greater amount, because $90,000 in laundered proceeds

corresponded to more than two or perhaps three kilograms of crack. (ECF No. 273-2 at 54).

       The court sentenced Hopson at count 1 of the indictment at Criminal No. 03-151 to a

term of imprisonment of 360 months, to be followed by a ten-year term of supervised release,

and to a concurrent term of imprisonment of 240 months at count 2 of that same indictment.

(ECF Nos. 182, 183.) At Criminal No. 05-42, Hopson was sentenced to a term of imprisonment

of 240 months to concurrently run with the sentence imposed at Criminal No. 03-151. (Crim.

No. 05-42, ECF Nos. 56, 57.)

       On October 9, 2007, the United States Court of Appeals for the Third Circuit affirmed the

convictions and sentences imposed by this court. (Crim. No. 03-151, ECF No. 238, 239; Crim.



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No. 05-41, ECF No. 70.) In particular, the court of appeals held that Hopson was properly

classified as a career offender.

       On October 13, 2016, the court granted a motion to reduce Hopson’s sentence pursuant to

Amendment 782, over the government’s objection, and resentenced him to a term of

imprisonment of 292 months, which was the low end of the advisory guideline range based on

his career offender status. This represented a sentence reduction of 68 months.

       On September 19, 2019 (approximately one year ago), the court issued an opinion and

order denying Hopson’s request for a sentence reduction under § 404 of the First Step Act. The

court assumed that Hopson was eligible for relief, but exercised its discretion to not reduce his

sentence after reviewing the § 3553(a) sentencing factors.

       Hopson has been detained since February 2005. His projected release date is November

27, 2025. https://www.bop.gov/mobile/find_inmate/byname.jsp#inmate_results (last visited

September 29, 2020).



   III. Exhaustion

   On May 7, 2020, Hopson submitted a request for compassionate release to the warden at

FCI-Elkton. He filed his motion in this court on August 14, 2020 (more than 30 days later). The

government conceded that Hopson exhausted his administrative remedies, but opposes his

release on the merits.

       On August 31, 2020, the Court of Appeals designated its decision in United States v.

Harris, No. 20-1723, -- F.3d --, 2020 WL 5198870 (3d Cir. 2020), as precedential. In Harris,

the court held that a defendant may file a compassionate release motion with the court 30 days

after the warden receives his initial request. Id. Based on Harris, because Hopson filed his



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motion in this court more than 30 days after the warden received his initial request, he exhausted

his administrative remedies and his motion for compassionate release will be resolved on the

merits.

   IV. Legal Standard

          The First Step Act provides, in relevant part, that the court may not modify a term of

imprisonment once it has been imposed, unless:

          (A)       the court, upon motion of the Director of the Bureau of Prisons, or upon
                motion of the defendant after the defendant has fully exhausted all
                administrative rights to appeal a failure of the Bureau of Prisons to bring a
                motion on the defendant's behalf or the lapse of 30 days from the receipt of
                such a request by the warden of the defendant's facility, whichever is earlier,
                may reduce the term of imprisonment (and may impose a term of probation or
                supervised release with or without conditions that does not exceed the
                unserved portion of the original term of imprisonment), after considering the
                factors set forth in section 3553(a) to the extent that they are applicable, if it
                finds that—

             (i) extraordinary and compelling reasons warrant such a reduction; or

             (ii) the defendant is at least 70 years of age, has served at least 30 years in
             prison, pursuant to a sentence imposed under section 3559(c), for the
             offense or offenses for which the defendant is currently imprisoned, and a
             determination has been made by the Director of the Bureau of Prisons that
             the defendant is not a danger to the safety of any other person or the
             community, as provided under section 3142(g);

          and that such a reduction is consistent with applicable policy statements issued
          by the Sentencing Commission.

18 U.S.C. § 3582(c)(1)(A)(i) (emphasis added). Under the statute, the court must address three

considerations: (1) the § 3553(a) factors; (2) whether extraordinary and compelling reasons

exist; and (3) whether a reduction is consistent with policy statements of the Sentencing

Commission.

          Hopson bears the burden of proof by a preponderance of the evidence. United States v.

Weaver, No. 1:17-CR-235, 2020 WL 4810123, at *2 (E.D. Va. Aug. 18, 2020) (“As the party

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seeking relief and with no statutory guidance otherwise, a defendant bears the burden of proof in

motions for compassionate release.”) (citing Schaffer ex rel. Schaffer v. Weast, 546 U.S. 49, 56-

57 (2005)); United States v. Rodrigues, No. 16-CR-00529-DKW-1, 2020 WL 5634310, at *1 (D.

Haw. Sept. 21, 2020). Each of the three considerations will be addressed.



       V. Discussion

               A. Section 3553(a) Factors

       The statute states that a court does not evaluate whether extraordinary and compelling

reasons justify a sentence reduction until “after” it considers the sentencing factors set forth in

18 U.S.C. § 3553(a). The court has reviewed the § 3553(a) factors with respect to Hopson on

several occasions: (1) in June 2006, when imposing the original sentence on Hopson; (2) in

October 2016, when reducing Hopson’s sentence pursuant to Amendment 782; and (3) most

recently, in September 2019, when denying his First Step Act motion. In the September 2019

opinion, the court explained, in relevant part:

               The court will decline to exercise its discretion to reduce the sentence
       imposed upon Hopson. The court thoroughly discussed the § 3553(a) factors in
       imposing Hopson’s original sentence. The court stated, in relevant part: (1)
       Hopson committed extremely serious crimes, devastating to the community,
       involving multi-kilos of crack cocaine[]; (2) his history and characteristics
       showed lifelong interactions with the criminal justice system; (3) a prison term of
       360 months was warranted in order to reflect the seriousness of the offense,
       promote respect for the law and provide just punishment; (4) the substantial
       sentence being ordered would protect the public from further crimes by Hopson;
       (5) the court selected a sentence within the guideline range, although at the lowest
       end, and could have imposed life imprisonment; and (6) the court chose not to
       deviate from the guideline range because it would create an unwarranted disparity
       with other similarly-situated defendants. The court stated that its sentence
       addressed the goals of punishment, rehabilitation and deterrence. (ECF No. 273-2
       at 72-76). The court adheres to its application of the § 3553(a) factors in this
       case.

ECF No. 278 at 9. Of particular concern to the court was Hopson’s conduct of beating a witness

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who agreed to testify against him with a golf club. Id. at 9 n. 3. The court also reasoned that

Hopson’s sentence was reduced substantially in 2016 (by 68 months, from 360 months to 292

months), for the reasons stated by the court at that time, including his post-sentence

rehabilitation. Id.

       In his pending motion, Hopson does not point to any factors that the court did not

consider in 2019.2 The court will consider Hopson’s continuing post-sentence rehabilitation.

See United States v. Tidwell, No. CR 94-353, 2020 WL 4504448, at *7 (E.D. Pa. Aug. 5, 2020)

(court’s review of the § 3553(a) factors must consider the “most up-to-date picture” of the

defendant's “history and characteristics,” including evidence of rehabilitation). The court,

however, has already given great weight to Hopson’s post-sentence rehabilitative efforts and

commented:

       While his active participation in educational and vocational training is laudable
       and the court encourages him to continue his training, those efforts were
       recognized in reducing his sentence in 2016 and are not sufficient to outweigh the
       other sentencing considerations. In light of the First Step Act, consideration of
       the § 3553(a) factors and Hopson’ progress while incarcerated, a reduction in
       Hopson’ term of imprisonment and term of supervised release is not warranted.

ECF No. 278 at 10; ECF No. 267 (“The Inmate Skills Development Plan indicates that

defendant's conduct has been exemplary while incarcerated.”). In the pending motion, Hopson

seeks a term of imprisonment well below the plea agreement, and far less than the statutory

mandatory minimum of 20 years imprisonment. In fact, Hopson would be facing a statutory

mandatory term of life imprisonment, but for the revised § 851 information the government

agreed to file as part of the plea agreement.

       Ultimately, the court concludes, after reexamining the § 3553(a) factors, that a further



2
 Hopson reiterates his contention that his advisory guideline range is now lower. The court
considered and rejected this argument. ECF No. 278 at 9-10.
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reduction of Hopson’ term of imprisonment would not be appropriate to accomplish the purposes

of sentencing.

       B. Extraordinary and compelling reasons

       Hopson cites two related reasons for compassionate release: (1) the outbreak of COVID-

19 at FCI-Elkton; and (2) the risk factors of his age (49), medical conditions and race. The court

will address each of these contentions.

                        1. Outbreak at FCI-Elkton

       The court takes judicial notice of the evidentiary record developed recently in United

States v. Grasha, No. 18-325, 2020 WL 5747829 (W.D. Pa. Sept. 24, 2020):

               Sarah Dees, the health services administrator at FCI-Elkton, testified
       credibly at the hearing. She agreed that in March and April 2020 (shortly after
       Hopson reported) a high number of inmates tested positive and had severe health
       conditions related to the COVID-19 virus. In total, beginning in March 2020 to
       the present, there have been 950 positive tests for the COVID-19 virus among
       inmates at FCI-Elkton. Tr. at 79. At its peak, 50 inmates were in the hospital and
       9 inmates died from the COVID-19 virus. Tr. at 54, 81. The last inmate death
       occurred on May 7, 2020. Tr. at 98. It has been months (more than 60 days)
       since any inmate was sent to the hospital due to the COVID-19 virus. Tr. at 96-
       97. The inmates currently hospitalized were part of the initial group sent to the
       hospital in March and April 2020 and have remained hospitalized since that time.
       Tr. at 96.

               Ms. Dees explained that FCI-Elkton implemented numerous measures to
       combat the pandemic in accordance with CDC guidance, including surveillance
       testing of all inmates during the initial outbreak in March and April 2020. Tr. at
       55. Ninety percent of the inmates were placed in either isolation or quarantine.
       Tr. at 55. FCI-Elkton requires handwashing, wearing masks and social
       distancing. Tr. at 57-59.

              Each inmate is confined to a cohort.3 Each cohort contains approximately
       150 inmates who are housed in a unit separate from other cohorts. Tr. at 83. At

       3
         The government defines a cohort as “a group of persons with a similar condition grouped or
       housed together for observation over a period of time.” Nat'l Immigration Project of Nat'l Lawyers
       Guild v. Exec. Office of Immigration Review, No. 1:20-CV-00852 (CJN), 2020 WL 2026971, at *2
       (D.D.C. Apr. 28, 2020) (citing ICE Pandemic Response at 4 n.3).



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        FCI-Elkton, there is movement within a cohort, but an inmate does not have any
        contact with persons in another cohort. Tr. at 101. The cohorts obtain their food
        at separate times and the facility is cleaned between each cohort going to the
        dining room. Tr. at 101. Cohorts receive educational programming and recreate
        at separate times from other cohorts. Tr. at 101.

                 Currently, only 5 of the approximately 2500 inmates at FCI-Elkton are
        positive for the COVID-19 virus, and they are in isolation. Tr. at 57. See
        bop.gov/coronavirus/index.jsp (last visited September 15, 2020) (current COVID
        infections are 5 inmates, 2 staff). Those 5 inmates were asymptomatic and were
        subjected to a routine COVID-19 virus test prior to their step down from the
        facility. Tr. at 102.

Id. at *3.

        There is no information in the record about whether Hopson is currently being exposed to

COVID-19. The court concludes that the current status of the COVID-19 pandemic at FCI-

Elkton does not arise to an extraordinary and compelling reason for release. Accord United

States v. Thomason, No. 19-CR-05, 2020 WL 4915833, at *2 (D. Minn. Aug. 21, 2020) (“FCI-

Elkton was the site of a significant COVID-19 outbreak during which nine inmates died and has

since been the subject of extensive litigation, but the situation there has improved.”).

                       2. Risk Factors

        Hopson cites the following risk factors for the COVID-19 virus as a basis for

compassionate release: (1) age; (2) high cholesterol; and (3) being African-American. The

medical records attached to Hopson’s motion reflect that on April 3, 2020, he was sent to

isolation for suspected COVID-19. On April 13, 2020, he was diagnosed with pneumonia and

placed back in isolation. On April 20, 2020, Hopson was released to post-isolation and reported

feeling well, “with full resolution of symptoms.” (ECF No. 282-3). In Hopson’s request to the

warden for compassionate release, he explained that he was quarantined for a total of 29 days; he

was not tested for COVID-19; and he “could have easily been one of the persons who were




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asymptomatic for the coronavirus.” (ECF No. 282-5).4

                               a. Age

       Hopson argues that his age (49) makes him more vulnerable to the COVID-19 virus.

The CDC reports that the risk for severe illness from COVID-19 increases with age. People in

their 50s are at higher risk than people in their 40s; people in their 60s and 70s are at increased

risk; with the greatest risk for severe illness from COVID-19 among those aged 85 or older.

https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/older-

adults.html#:~:text=Risk%20for%20Severe%20Illness%20Increases%20with%20Age&text=Th

e%20greatest%20risk%20for%20severe,as%20having%20underlying%20medical%20conditions

(last visited Sept. 29, 2020). Eighty percent of deaths from COVID-19 have been 65 or older.

Only 3.2% of deaths were ages 40-49. https://covid.cdc.gov/covid-data-tracker/#demographics

(last visited Sept. 29, 2020). Hopson’s age does not constitute an extraordinary and compelling

reason for compassionate release.

                               b. High Cholesterol

       Hopson states that he has a history of high cholesterol which is treated with Atorvastatin

(ECF No. 282 at 8). The CDC does not list high cholesterol as a factor that does place, or might

place, a person at increased risk of severe illness from COVID-19.

https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-

conditions.html (last visited Sept. 30, 2020). On this record, Hopson’s high cholesterol, which is

being treated by medication, does not constitute an extraordinary and compelling reason for



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  To the extent that Hopson already contracted COVID-19, and was either asymptomatic or fully
recovered, that fact does not weigh in favor of compassionate release. United States v. Hilts, No.
CR 11-133, 2020 WL 4450373 at *2 (W.D. Pa. Aug. 3, 2020) (citations omitted) (denying
compassionate release to inmate who tested positive for COVID-19 and recovered, reasoning
that risk of reinfection was minimized).
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compassionate release.



                               c. Race

       Hopson points to his race as a basis for release because African-Americans are more

likely to be infected by COVID-19. The CDC reports that 20.9% of COVID-19 deaths have

been black, non-Hispanic. https://covid.cdc.gov/covid-data-tracker/#demographics (last visited

Sept. 30, 2020). The CDC notes that: “Race and ethnicity are risk markers for other underlying

conditions that impact health — including socioeconomic status, access to health care, and

increased exposure to the virus due to occupation (e.g., frontline, essential, and critical

infrastructure workers).” https://www.cdc.gov/coronavirus/2019-ncov/covid-data/investigations-

discovery/hospitalization-death-by-race-ethnicity.html (last visited Sept. 29, 2020). In United

States v. Green, No. CR 05-205, 2020 WL 3642860 (W.D. Pa. July 6, 2020), the court stated:

       Current data suggests that African-Americans have been disproportionately
       affected by COVID-19 hospitalizations and deaths. It is unclear, however,
       whether race is an independent risk factor or whether the adverse outcomes are
       caused by other factors such as living conditions (such as population density),
       work conditions (including service in essential industries), lack of access to health
       care or the prevalence of other underlying medical conditions.
       https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/racial-ethnic-
       minorities.html (last visited June 23, 2020).

Id. at *4. The court concludes that Hopson’s race does not constitute an extraordinary and

compelling reason for compassionate release.

       In sum, the current status of the COVID-19 outbreak at FCI-Elkton and Hopson’s risk

factors of age, race and medical conditions, considered alone or together, do not constitute an

extraordinary and compelling reason for compassionate release.

       C.      Sentencing Commission Policies

       The statute requires the court to consider the Sentencing Commission policy on

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compassionate release set forth at U.S.S.G. §1B1.13. Pursuant to the Guidelines Manual, the

court may reduce a sentence if:

       (1)(A) Extraordinary and compelling reasons warrant the reduction; or
       (B) The defendant (i) is at least 70 years old; and (ii) has served at least 30 years
       in prison pursuant to a sentence imposed under 18 U.S.C. § 3559(c) for the
       offense or offenses for which the defendant is imprisoned;
       (2) The defendant is not a danger to the safety of any other person or to the
       community, as provided in 18 U.S.C. § 3142(g); and
       (3) The reduction is consistent with this policy statement.

(Emphasis added).

       The term “Extraordinary and Compelling Reasons” is defined in U.S.S.G. § 1B1.13,

Application Note 1:

       (A) Medical Condition of the Defendant.--
          (i) The defendant is suffering from a terminal illness (i.e., a serious and
          advanced illness with an end of life trajectory). A specific prognosis of life
          expectancy (i.e., a probability of death within a specific time period) is not
          required. Examples include metastatic solid-tumor cancer, amyotrophic
          lateral sclerosis (ALS), end-stage organ disease, and advanced dementia.
          (ii) The defendant is--
              (I) suffering from a serious physical or medical condition,
              (II) suffering from a serious functional or cognitive impairment, or
              (III) experiencing deteriorating physical or mental health because of
              the aging process,
       that substantially diminishes the ability of the defendant to provide self-care
       within the environment of a correctional facility and from which he or she is not
       expected to recover.
       (B) Age of the Defendant.--The defendant (i) is at least 65 years old; (ii) is
       experiencing a serious deterioration in physical or mental health because of the
       aging process; and (iii) has served at least 10 years or 75 percent of his or her
       term of imprisonment, whichever is less.
       (C) Family Circumstances.--
          (i) The death or incapacitation of the caregiver of the defendant's minor
          child or minor children.
          (ii) The incapacitation of the defendant's spouse or registered partner when
          the defendant would be the only available caregiver for the spouse or
          registered partner.
       (D) Other Reasons.--As determined by the Director of the Bureau of Prisons,
       there exists in the defendant's case an extraordinary and compelling reason other
       than, or in combination with, the reasons described in subdivisions (A) through
       (C).

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       Hopson does not fall within the Medical Condition prong because there is no evidence

that his ability to provide self-care within FCI-Elkton is substantially diminished. He does not

qualify under the Age prong and the Family Circumstances prong is not applicable. He,

therefore, must fit into the “other reasons” prong. The court recognizes that U.S.S.G. § 1B1.13

was not updated to reflect the First Step Act, and that the Commission's policy statement “does

not constrain a court's independent assessment about whether ‘extraordinary and compelling

reasons’ warrant a sentence reduction under § 3852(c)(1)(A).” United States v. Somerville, No.

2:12-CR-225-NR, 2020 WL 2781585, at *6-7 (W.D. Pa. May 29, 2020) (court has authority to

independently assess whether there are “extraordinary and compelling reasons” to reduce

defendant’s sentence). For the same reasons discussed above in part IV(B) of this opinion, the

court concludes that Hopson did not demonstrate other extraordinary and compelling reasons for

compassionate release.

       The government emphasizes the policy consideration about danger to the community.

The government argues that despite his rehabilitative efforts, Hopson remains a danger to the

community based on his lifelong involvement in crime, the effects of his crack cocaine

distribution, and his assault on a witness with a golf club. The government emphasizes that he

received a large downward variance.5

       The “danger to the community” policy is somewhat similar to the § 3553(a)(2)(C)

sentencing factor that a sentence “protect the public from further crimes of the defendant.” As

discussed in part V(A) of this opinion, the court determined that a sentence of 292 months was

sufficient, but no greater than necessary, to accomplish that purpose. The court adheres to that


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         The government suggests that Hopson may not abide by social distancing and COVID-
19 protection measures, but the court rejects this argument as speculative.

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determination.



       V. Conclusion

       The court is sympathetic to Hopson’s concerns about being exposed to COVID-19 at

FCI-Elkton. Speculation concerning possible future conditions does not constitute a "compelling

reason" for release. In other words, his current arguments for release do not outweigh the factors

considered by the court in imposing his original sentence. Hopson’s post-sentence rehabilitation,

which the court again recognizes and applauds, was already given great weight in substantially

reducing his sentence by 68 months. In accordance with the foregoing discussion, Hopson’s

motion for compassionate release (ECF No. 282 at Crim. No. 03-151, ECF No. 81 at Crim. No.

05-42) will be DENIED without prejudice to reassert that kind of motion if his medical

conditions change or the status of the COVID-19 outbreak at FCI-Elkton changes.



       An appropriate order will be entered.

Dated: October 21, 2020.

                                               /s/ Robert J. Colville
                                               Robert J. Colville
                                               United States District Judge


Cc: counsel of record




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